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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                        :
Jonathan Escobar,                       :
                                        :
                   Plaintiff,           :
                                        :
       v.                               :
                                        :
                                          Civil Action No.: 3:16-cv-00930-CSH
Westlake Services, LLC d/b/a Westlake :
Financial Services; Equifax Information :
Services, LLC; and Experian Services    :
Corp.,                                  :
                                        :
                                        :
                   Defendants.          :
                                        :

                             NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that Plaintiff, Jonathan Escobar, and

Defendants, Westlake Services, LLC d/b/a Westlake Financial Services and

Equifax Information Services, LLC, have reached a settlement. Plaintiff

anticipates filing a voluntary dismissal of this action as to Westlake Services, LLC

d/b/a Westlake Financial Services and Equifax Information Services, LLC, with

prejudice, pursuant to FED. R. CIV. P. 41(a) within 60 days. This notice is not

intended to affect Plaintiff’s claims against the remaining Defendant, Experian

Services Corp.


Dated November 7, 2016

                                           Respectfully submitted,

                                           PLAINTIFF, Jonathan Escobar

                                           /s/ Sergei Lemberg, Esq.
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                           CERTIFICATE OF SERVICE

      I hereby certify that on November 7, 2016, a true and correct copy of the
foregoing Notice of Settlement was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                      By_/s/ Sergei Lemberg_________

                                             Sergei Lemberg, Esq.
